                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


_____________________________________________
In re:                                       :                  Chapter 11
                                              :
REMINGTON OUTDOOR COMPANY, INC., et. al., :                     Case No. 20-81688-11
                                              :
                        Debtors.              :                 Jointly Administered
_____________________________________________:


   LIMITED OBJECTION OF THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS OF REMINGTON OUTDOOR COMPANY, INC. ET. AL. TO DEBTORS’
  MOTION FOR (I) AN ORDER ESTABLISHING BIDDING PROCEDURES AND
RELATED RELIEF AND (II) AN ORDER OR ORDERS APPROVING THE SALE OF
                        THE DEBTORS’ ASSETS


         The Official Committee of Unsecured Creditors (the “Committee”) appointed in the above-

captioned chapter 11 cases of Remington Outdoor Company, Inc. and its twelve (12) affiliated

debtors (collectively, the “Debtors”), by and through its proposed undersigned counsel, hereby

submits this limited objection (the “Objection”) to the Debtors’ Motion for (I) an Order

establishing Bidding Procedures and Related Relief and (II) and Order or Orders Approving the

Sale of the Debtors’ Assets [Docket No. 29] (the “Bid Procedures Motion”). In support of this

Objection, the Committee respectfully states as follows:

                               I.      PRELIMINARY STATEMENT

         1.        The Committee’s paramount goal in these chapter 11 cases is to safeguard the rights

of the unsecured creditors and ensure a fair process towards maximizing the value of all the

Debtors’ assets, not solely for the secured lenders, but for all creditor constituents. The Committee

does not believe that a sale of a complex company at a breakneck speed being dictated by the

secured lenders at this early stage of the case is in the best interest of all parties. At this time, the


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Committee cannot support the expedited procedures sought in the Bid Procedures Motion without

the opportunity to complete its own diligence. There is no urgency demanding that the sale process

be run on such a short timeframe—there is no stalking horse that the Debtors risk losing without

immediate procedures in place nor are the Debtors precluded from trying to market the assets in

the absence of approved bid procedures. The Committee is fully committed to continuing to work

with the Debtors and their advisors to maximize the value for all creditors.

                                        II.    JURISDICTION

         2.        This Court has jurisdiction to consider this Objection pursuant to 28 U.S.C. §§ 1334

and 157(b). This is a core proceeding pursuant to 28 U.S.C. §§157(b). Venue is proper in this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.        The Committee has standing to bring this Objection pursuant to §1109(b) of title

11 of the United States Code.

                                        III.   BACKGROUND

         A. General Background

         4.        On July 27, 2020 (the "Petition Date"), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively, the "Chapter 11 Cases")[Doc. No.

1]. The Debtors are operating their businesses and managing their financial affairs as debtors-in-

possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code. No party has requested the

appointment of a trustee or examiner in the Chapter 11 Cases. On July 30, 2020, this Court entered

an Order (I) Directing Joint Administration of Related Chapter 11 Cases and (II) Granted Relating

Relief [Doc. No. 89].

         5.        On July 28, 2020, the Debtors filed their Bid Procedures Motion [Docket No. 29]

seeking approval of certain procedures relating to the sale of substantially all of the Debtors’ assets.

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         6.        On August 6, 2020, the Bankruptcy Administrator for the Northern District of

Alabama (the “Bankruptcy Administrator”) appointed the Committee pursuant to Bankruptcy

Code § 1102(a)(1) [Doc. No. 217]. The Committee is comprised of eleven (11) members: (a)

Pension Benefit Guaranty Corporation; (b) Arkansas Economic Development Commission; (c)

Safari Classics Productions; (d) Qiqihar Hawk Industries Co., Ltd.; (e) Dasan USA, Inc.; (f) Die-

Namic Inc.; (g) G&R Manufacturing; (h) Amark Engineering & Mfg., Inc.; (i) Art Guild of

Philadelphia, Inc., dba Art Guild Inc.; (j) A.M. Castle & Co., dba Castle Metals; and (k) St. Marks

Powder, Inc.

         7.        On August 7, 2020 (the “Retention Date”), the Committee selected Fox Rothschild

as its lead counsel and Baker, Donelson, Bearman, Caldwell, and Berkowitz, PC. (“Baker

Donelson”) as its co-counsel in the Chapter 11 Cases.

         8.        On August 9, 2020, the Debtors granted the Committee an extension of time to

review and respond to the Bid Procedures Motion and extended the deadline to file an objection

to August 13, 2020, 12:00 p.m. CT. Since that extension was granted, counsel to the Debtor and

the Committee have been attempting to reach a resolution with respect to the terms of the Bid

Procedures Motion.

         9.        A number of the concerns of the Committee have been resolved through these

discussions, including the following: a) the Committee will be a Consultation Party and a Bid

Consultation Party; b) the Committee will be given a copy of the Form APA to review; and c) the

Committee will have the opportunity to object to the designation of a stalking horse purchaser,

including the opportunity to object to the Breakup Fee and the Expenses.

         10.       Unfortunately, however, the Committee’s primary concerns related to the break

neck pace of the sale process have not been alleviated. The Debtors and their lenders have

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proposed an abbreviated schedule to sell substantially all of the Debtors’ assets – including a non-

binding indication of interest by August 21st (in 8 days), a bid deadline by September 1st (in only

19 days), and a process intended to sell assets that are not yet even the subject of an APA by

September 10, 2020, less than one month from now. These tight time frames may inadvertently

discourage bidders from participating thereby reducing the opportunity to maximize value to the

estate.

          B. Sale Process

          11.      For several months in early 2020, the Debtors were locked in negotiations with one

primary potential purchaser who walked away from the opportunity after lengthy negotiations. It

was not until May 2020 that the Restructuring Committee instructed the investment bankers to

conduct a further outreach for interested purchasers. Bid Procedures Motion, ¶ 24-25.

          12.      The Bid Procedures Motion fails to provide detail concerning the marketing process

performed prepetition or the parties who have expressed an interest in Debtors’ assets, including

when the buyer outreach concluded, the number of potential buyers contacted pre-petition and

when potential buyers began diligence in earnest. Therefore, it is difficult to gauge what the

appropriate length of the sale process should be.1

          13.      It appears from the relatively limited information that the Committee and its

advisors have obtained, that since buyer outreach began in May 2020, the Debtors have contact

more than 300 parties to gauge their interest in the Company. The Debtors are currently involved

in active dialogue with as many as seventy-seven (77) different potential purchasers who are




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  The Committee’s Financial Advisor was just recently provided a very high-level buyer contact log, but this report
still does not provide adequate visibility to allow the committee to evaluate the adequacy of the Debtors’ efforts to
market the companies.

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interested in various permutations of the Company’s assets, certain of which only entered the

process after the Petition Date. Working with a large bidder universe like this would increase the

likelihood of constraints around information flow and access to management, its advisors and the

Company’s facilities. In addition to the sheer size of the potential bidder universe, there are other

factors complicating the potential buyers’ ability to evaluate the assets, including the need for

buyers to conduct carve-out analyses, contemplate licensing arrangements for IP that is shared

across the Debtors’ various divisions, and to negotiate potential transition services agreements.

         14.       The Committee has come to understand that in some instances, buyers are only

interested in portions of a particular division (as opposed to the entire piece of the business). This

is the case for both the firearms and ammunition components where interest is brand specific.

Further there are liquidators for all or parts of the business.

         15.       The potential process of evaluating bids on various combinations of subsets of

assets, brands, division, and individual assets will be extraordinarily complex. And it seems

unlikely that the Debtors could effectively negotiate with so many potential buyers on such a

truncated timeframe.

         16.       The Committee would also like to know whether the proposed rapid sale process

discouraged prospective international buyers from the process. The Committee is concerned that

the requested timing of this sale process may limit the ability of potential purchasers to fully

formulate value-maximizing bids, or to formulate bids at all.

         17.       To be clear, the Committee is not opposed to the Debtors’ request to sell

substantially all of its assets free and clear of liens, claims and encumbrances. But it does have

significant concerns about the truncated timeline that would be employed for the bidding

procedures, the Auction and the Sale Closing and consequently presents this limited Objection.

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                                   IV.    LIMITED OBJECTION

         A. The Sale Process Should be Extended for Thirty Days.

         18.       As a general matter, section 363 sales held on an expedited basis are disfavored.

Courts are “extremely concerned by this time-trap,” which is “inconsistent with the Code, due

process of law, the exercise of the courts authority and simple common sense.” In re Bombay Co.,

Inc., No. 07-44084-rfn-11, 2007 WL 2826071, at *3 (Bankr. N.D. Tex. Sept. 26, 2007). Thus,

“[a]t a minimum, if section 363(b)(1) is the means for effecting the debtor’s disposition, the

creditors should have the luxury of enough time for their representative to assess fully the proposed

transactions.” Id. at *4; see also In re Braniff Airways, Inc., 700 F.2d 935, 940 (5th Cir. 1983)

(“The debtor and the Bankruptcy Court should not be able to short circuit the requirements of

Chapter 11 for confirmation of a reorganization plan by establishing the terms of the plan sub rosa

in connection with a sale of assets.”); In re Humboldt Creamery, LLC, No. 09-11078, 2009 WL

2820610, at *2 (Bankr. N.D. Cal. Aug. 14, 2009)(stating that, in expedited §363 sales, “the judge

is reduced to a figurehead without any meaningful discretion and might as well leave his or her

signature stamp with the debtor’s counsel and go on vacation or shift attention to consumer cases

where the law may still mean something”); In re Gulf Coast Oil Corp., 404 B.R. 407, 420-21

(Bankr. S.D. Tex. 2009) (discussing §363 sales and stating that “[t]he lack of transparency, the

pace of the process, and the inconsistent treatment by the courts . . . leave the bankruptcy courts

and parties in interest vulnerable to unfair dealing, abuse, and sweetheart deals”) (internal citations

omitted).

         19.       Common sense suggests that allowing a reasonable time for a deliberate, unrushed

sales process has the highest likelihood of resulting in a sale that would benefit all creditors, not

just the secured lenders.

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         20.       While the Debtors may assert that a truncated time period is necessary for the sale

process given its limited cash resources, the secured creditors have already agreed to a sale process

in bankruptcy. As such, the secured creditors must understand that, in order to receive the

extraordinary protections afforded by sales in bankruptcy proceedings; it must “pay the freight.”

See Encore Health Assoc., 312 B.R. 52, 57, n. 10 (Bankr. E.D. Penn. 2004)(“most secured creditors

understand the necessity of making some distribution available to other creditors as the price of a

court approved sale.”).

         21.       Moreover, it is illusory for the Debtor and the secured creditors to argue lack of

cash resources when they are the parties that have set up and control the sale process. Any

truncated timetable suggested for the sale process should not be permitted by this Court.

         B. The Notice of the Bid Procedures and Sale Should Be Widely Distributed.

         22.       The Committee agrees with the Debtors that the Notice of the Sale and the Bid

Procedures should be served on all of those entities listed by the Debtors in its Bid Procedures

Motion. Bid Procedures Motion, ¶ 35.

         23.       The Committee further believes that the list should be expanded to include any

parties identified by the Committee or AlixPartners LLP as potentially interested parties.

         C. The Sale Proceeds Should Be Held In Escrow Pending The Close of the Lien
            Investigation Period and All Liens Should Attach to the Proceeds.

         24.       The Bid Procedures Motion seeks approval of the Debtors’ proposed disbursements

of the sale proceeds at Closing to the Priority Term Loan Obligations and a portion of the FILO

Term Loan Obligations. Bid Procedures Motion, ¶57.

         25.       The sale proceeds should not be disbursed without an Order of this Court and

none of the secured lenders should be paid at Closing. Rather the Sale proceeds should be held



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in escrow until the Challenge Period has passed and the various secured creditors’ liens have not

been challenged.

                                V.     RESERVATION OF RIGHTS

         26.       The Committee reserves its rights to supplement or otherwise adopt additional

arguments in connection with this Objection up to and including at the hearing on approval of the

Bidding Procedures. Further, nothing contained herein shall be deemed as a waiver of any right

of the Committee to object to the sale of substantially all of the Debtor’s assets pursuant to 11

U.S.C. § 363 or otherwise.

                                           VI.    NOTICE

         27.       The Committee will provide notice of this Objection by email or via CM/ECF to

(i) counsel for the Debtors, O’Melveny & Myers LLP, 400 South Hope Street, 18th Floor, Los

Angeles, CA 90071, Attn: Steve Warren (swarren@omm.com) and Jennifer Taylor

(jtaylor@omm.com); (ii) co-counsel for the Debtors, Burr & Forman LLP, 420 North 20th Street,

Suite 3400, Birmingham, Alabama 35203, Attn: Derek Meek (dmeek@burr.com) and Hanna Lahr

(hlahr@burr.com); (iii) counsel for the Restructuring Committee, Akin Gump Strauss Hauer &

Feld LLP, 2300 N. Field Street, Suite 1800, Dallas, TX 75201, Attn: Sarah Schultz

(sschultz@akingump.com); (iv) the Bankruptcy Administrator, 400 Well Street, Decatur, Alabama

35602, Attn: Richard Blythe (richard_blythe@alnba.uscourts.gov); (v) counsel to the FILO

Lenders, Pillsbury Winthrop Shaw Pittman LLP, Four Embarcadero Center, 22nd Floor, San

Francisco, CA 94111-5998, Attn: Joshua D. Morse (joshua.morse@pillsburylaw.com) and

Andrew V. Alfano (andrew.alfano@pillsburylaw.com); (vi) counsel to Whitebox Advisors LLC,

Brown Rudnick LLP, One Financial Center, Boston, Massachusetts 02111, Attn: Andreas

Andromalos            (aandromalos@brownrudnick.com)            and      Tia       C.       Wallach

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(twallach@brownrudnick.com); and (vii) all parties that have requested notice in the Debtors’

bankruptcy cases.

         WHEREFORE, the Committee requests that (a) the Bid Procedures be modified to

address the limited objections raised in this Objection and (b) the Court grant any further relief the

Court deems proper and just.

                                               BAKER DONELSON BEARMAN CALDWELL
                                               & BERKOWITZ, P.C.

                                               /s/Matthew M. Cahill
                                               Matthew M. Cahill, Esq.
                                               Rita L. Hullett, Esq.
                                               420 20th Street N
                                               Birmingham, AL 35203
                                               Telephone: (205) 276-9807
                                               Email: rhullett@bakerdonelson.com
                                                       mcahill@bakerdonelson.com


                                               -     and -

                                               FOX ROTHSCHILD LLP

                                               /s/ Gordon E. Gouveia
                                               Gordon E. Gouveia
                                               321 N. Clark St., Ste. 1600
                                               Chicago, IL 60654
                                               Telephone: (312) 980-3816
                                               ggouveia@foxrothschild.com

                                               and

                                               Michael A. Sweet
                                               345 California Street, Ste. 2200
                                               San Francisco, CA 94104
                                               (415) 364-5560
                                               msweet@foxrothschild.com




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